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12                               NORTHERN DISTRICT OF CALIFORNIA
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13

14    PATRICK CALHOUN, et al., on behalf of                  Case No. 4:20-cv-05146-YGR-SVK 1
      themselves and all others similarly situated,
15                                                           PLAINTIFFS’ BRIEF RE: TARGETED USE
               Plaintiffs,                                   OF CALHOUN DISCOVERY IN IN RE
16                                                           GOOGLE RTB CONSUMER PRIVACY
               v.                                            LITIGATION, PURSUANT TO DKT. 683
17
      GOOGLE LLC,
18                                                           Hon. Yvonne Gonzalez Rogers
               Defendant.
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                                     DOCUMENT SOUGHT TO BE SEALED
22                                     REDACTED IN ITS ENTIRETY
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     In accordance with the Court’s instructions, this brief is filed under seal on the Calhoun docket only
28 and served separately upon RTB counsel for Google.



     Plaintiffs’ Brief re Targeted Use of Calhoun Discovery in RTB                    Case No. 4:20-CV-05146-YGR-SVK
